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									Supreme Court of Georgia244 Washington Street,&nbsp;Suite&nbsp;572
Atlanta, Georgia 30334
Phone: (404) 656-3470
FAX: (404) 656-2253
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				Go to Today may, 2017
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										Supreme Court of Georgia
										
											40 Capitol Square, Atlanta GA 30334
										
									
				15may10:00 am- 4:00 pmOral Arguments
							Event DetailsMonday, May 15,&nbsp;2017
10:00 AM
S16G1700 Henry County Board of Education v. S.G.
S17A1040 Freeman v. The State
S17A1079 Georgia Association of Professional Process Servers et al. v. Jackson, Sheriff et al.

2:00 PM

S17A1085 [...]
							
							
									Event Details
									Monday, May 15,&nbsp;2017
10:00 AM
S16G1700 Henry County Board of Education v. S.G.
S17A1040 Freeman v. The State
S17A1079 Georgia Association of Professional Process Servers et al. v. Jackson, Sheriff et al.
2:00 PM
S17A1085 The State v. Jefferson et al.
S17A1059 The State v. Cash et al.


								
							
						
						
							
							
								
									
																
										Time(Monday) 10:00 am - 4:00 pm
									
								
							
								
									
																
										LocationSupreme Court of Georgia40 Capitol Square, Atlanta GA 30334
									
								
							
							
									
			
			
						

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				5/10/17 – JUDGE CRAWFORD TO HEAR GEORGIA SUPREME COURT CASE
						
				
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